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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:24-CR-00065 DAD
12                                 Plaintiff,            STIPULATION REGARDING RESETTING OF
                                                         STATUS CONFERENCE AND EXCLUDABLE
13                           v.                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
                                                         FINDINGS AND ORDER
14   ANTONIO VIGIL,
       aka “NEGRO,” and                                  DATE: August 13, 2024
15   EDUARDO MARTINEZ,                                   TIME: 9:30 a.m.
       aka “PACO,”                                       COURT: Hon. Dale A. Drozd
16     aka “EDDIE,”
       aka “ALFRED,”
17     aka “PACQUITO,”
18                                Defendants.
19

20                                               STIPULATION
21          The United States of America, by and through Assistant United States Attorney Kerry
22 Blackburn, together with Julissa Echevarria, counsel for defendant Antonio Vigil; and Vivian A. Mejia,

23 counsel for defendant Eduardo Martinez, hereby stipulate as follows:

24          1.       The Indictment was returned on March 21, 2024, and the Honorable Daniel J. Calabretta
25 assigned.

26          2.       By previous order, on March 26, 2024, this matter was set for status on June 20, 2024,
27 with an exclusion of time, under Local Code T4.

28          3.       On April 17, 2024, the matter was reassigned to the Honorable Dale A. Drozd, the status

      STIPULATION REGARDING EXCLUDABLE TIME              1
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1 conference was vacated, and the United States was directed to reschedule the status conference.

 2          4.       By this stipulation, all defendants move to continue the status conferences to August 13,

 3 2024.

 4          5.       The Government and Defense Counsel, stipulate to exclude time between June 20, 2024,

 5 and August 13, 2024, inclusive, under Local Code T4.

 6          6.       The Government and Defense Counsel agree and stipulate, and request that the Court find

 7 the following:

 8                   a)     The government has represented that the discovery associated with this case

 9          includes law enforcement reports, lab reports, search warrants, photographs, and recordings.

10          Initial disclosures have been made available to Defense Counsel.

11                   b)     Defense Counsel desires additional time to consult with their clients, to review

12          and copy discovery for this matter, and to otherwise prepare for trial.

13                   c)     Defense Counsel believes that failure to grant the above-requested continuance

14          would deny them the reasonable time necessary for effective preparation, taking into account the

15          exercise of due diligence.

16                   d)     The Government does not object to the continuance.

17                   e)     Based on the above-stated findings, the ends of justice served by continuing the

18          case as requested outweigh the interest of the public and the Defendants in a trial within the

19          original date prescribed by the Speedy Trial Act.

20                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

21          et seq., within which trial must commence, the time period of June 20, 2024, through August 13,

22          2024, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

23          T4] because it results from a continuance granted by the Court at Defense Counsel’s request on

24          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

25          best interest of the public and the defendant in a speedy trial.

26          7.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

27 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

28 must commence.

      STIPULATION REGARDING EXCLUDABLE TIME                2
30    PERIODS UNDER SPEEDY TRIAL ACT
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 1            IT IS SO STIPULATED.

 2

 3
      Dated: April 26, 2024                                    PHILLIP A. TALBERT
 4                                                             United States Attorney
 5
                                                               /s/ KERRY BLACKBURN
 6                                                             KERRY BLACKBURN
                                                               Assistant United States Attorney
 7

 8
      Dated: April 26, 2024                                    /s/ JULISSA ECHEVERRIA
 9                                                             JULISSA ECHEVERRIA
                                                               Counsel for Defendant
10                                                             ANTONIO VIGIL
11
      Dated: April 26, 2024                                    /s/ VIVIAN A. MEJIA
12                                                             VIVIAN A. MEJIA
                                                               Counsel for Defendant
13                                                             EDUARDO MARTINEZ
14

15                                                     ORDER
16            Pursuant to the stipulation of the parties and good cause appearing, the status conference in this
17 case is continued to August 13, 2024 at 9:30 a.m. and time is excluded between June 20, 2024, and

18 August 13, 2024, inclusive, under Local Code T4.

19            IT IS SO ORDERED.
20
     Dated:     April 29, 2024
21                                                       DALE A. DROZD
                                                         UNITED STATES DISTRICT JUDGE
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      STIPULATION REGARDING EXCLUDABLE TIME                3
30    PERIODS UNDER SPEEDY TRIAL ACT
